 Case 18-35289-KLP         Doc 21      Filed 02/11/19 Entered 02/11/19 11:40:11              Desc
                                            Page 1 of 1


                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

RE: Tina Cantwell-Brooke XXX-XX-9407                                        Case No. 18-35289-KLP



                DIRECTIVE FOR TERMINATION OF WAGE DEDUCTION

City of Richmond
Attention: Payroll Department
730 E. Broad St.
6th Floor
Richmond, VA 23219

IT IS DIRECTED:

    That the above Employer be, and is hereby directed to discontinue withholding any additional funds
from the wages of the Debtor, Tina Cantwell-Brooke, and to remit directly to the debtor any funds
held or to be held as of the date of this Directive under the previous Directive for Deduction.

   THIS DIRECTIVE IS ENTERED PURSUANT TO A STANDING ORDER OF THE UNITED
STATES BANKRUPTCY COURT.

Dated: February 11, 2019

                                                   /S/ Carl M. Bates
                                                   Carl M. Bates, Trustee
                                                   Eastern District of Virginia, Richmond Division


IF ANY INFORMATION IS DESIRED REGARDING THIS DIRECTIVE, CALL THE
TRUSTEE’S OFFICE AT 804.237.6800 OR FAX TO 804.237.6801

The Trustee does hereby certify that a copy of this Directive was mailed to the Debtor and the employer
and electronically sent to Debtor’s counsel on the date above written.

                                                   /S/ Carl M. Bates
                                                   Carl M. Bates, Trustee
